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                        Exhibit A
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                              UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

  NETLIST, INC.                                      )
              Plaintiff,                             )
       v.                                            )
                                                     )
  SAMSUNG ELECTRONICS CO., LTD.,                     )     Case No. 2:21-cv-463-JRG
  SAMSUNG ELECTRONICS AMERICA,                       )
  INC. and SAMSUNG SEMICONDUCTOR,                    )     JURY TRIAL DEMANDED
  INC.,                                              )
              Defendants.                            )
                                                     )
                                                     )

               PLAINTIFF NETLIST, INC.’S AMENDED TRIAL WITNESS LIST

             Pursuant to the Court’s Docket Control Order (Dkt. No. 34), Plaintiff Netlist, Inc.

     (“Netlist”) respectfully submits the following amended list of witnesses that it expects to

     present at trial and those that they may call at trial if the need arises (either in person, through

     deposition designations, or through videotaped deposition).

             Plaintiff submits this witness list without waiving any of its rights, including the right

     to supplement or amend the list. Plaintiff also may call as a witness any person identified on

     the witness list submitted by Defendant. Plaintiff also may call witnesses not included on this

     list in rebuttal. The inclusion of witnesses on this list is subject to Plaintiff’s motions to

     exclude, Plaintiff’s motions in limine, and other pre-trial motions.

            WITNESS             Will Call Live           May Call Live    May Call by Deposition

       Brogioli, Michael C.              X

       Calandra, Joseph                                                                X

       Choi, Dongjun                                                                   X

       Choi, Sungho                                                                    X

       Davey, Garrett                                                                  X
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          WITNESS            Will Call Live    May Call Live   May Call by Deposition

      Gillingham, Peter                              X

      Groehn, Andreas                                X

      Halbert, John                                                      X

      Hobbs, Tobin                                   X

      Hong, Chuck                                    X

      Jung, Seung-Mo                                                     X

      Karabatsos, Vasilios                                               X

      Kennedy, David                X

      Kim, Huan Joong                                                    X
      (Johnny)

      Kim, Indong                   X                                    X

      Kim, Ji-Bum                                    X

      Kim, Jihwan                                                        X

      Kline, Philip W.                               X

      Lee, Hun-Joo                                                       X

      Lee, Hyun                                      X

      Lee, Jung Bae                                                      X

      Lo, Bruce                                                          X

      Mangione-Smith,               X
      William

      Martinez, Mario                                X

      Meyer, Paul K.                                 X

      McAlexander III,                               X
      Joseph C.

      Milton, Scott                                  X



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          WITNESS            Will Call Live        May Call Live       May Call by Deposition

      Park, Kyungsoo                                                                  X

      Park, Sung Joo                                                                  X

      Robins, Gabriel                                      X

      Sasaki, Gail                                         X

      Shami, Khaled                                                                   X

      Tsui, Anton                                                                     X

      Yang, Jung-Mo                                                                   X

      Yoon, Junseon                                                                   X

      Ji, Hyun Ki                                          X                          X




     Dated: March 23, 2023                        IRELL & MANELLA LLP

                                                  By: /s/ Yanan Zhao
                                                     Yanan Zhao

                                              Attorneys for Plaintiff Netlist, Inc.




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